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                           IN THE UNITBD STATBS BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELA\ryARE

In re                                                           Chapter   11


EDGEMARC ENERGY HOT,DINGS, LLC,                                 Case   No. 19-11104 (JTD)
el al.,t
                                                                (Jointly Administered)
                            Debtors


 NOTICE OF AGENDA FOR THE HEARING ON FEBRUARY 7,2020,, AT 10:00 4.M.2
(PREVAILING EASTERN TIME), BBFORE THE HONOIIABLB JOHN T. DORSEY AT
     THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT OF
    DELAWARE, LOCATED AT 824 NORTH MARKET STRA,ET, sTH FLOOR,
           COURTROOM NO. 5. WILMINGTON DELAWARE I98O 1

                          TTER UNDER CERTIFI                         OF

l          Debtors' Motion to File Under Seal Certain Information Contained in llxhibit A to the
           Motion of the Debtors f'or Entry of an Order Approving the Settlement Between the
           Debtors, the Official Committee of Unsecured Creditors, Keybank National Association,
           and ETC Northeast Pipeline, LLC [D.I. 830, filed on.lanuary 24.20201

           Response Deadline: J anuary 31,2020 at4:00 p.m. (ET)

           Responses:

          A.         Informal comments fiom the Office of the United States Trustee

           Related Documents:

          B          SEALED Motion of the Debtors f-or Entry of an Orcler Approving the Settlement
                     Between the Debtors. the Official Committee of Unsecured Creditors, Keybank
                     National Associatiorr, and ETCI Northeast Pipeline, LLCI [D.I. 829, filed on
                     January 24,20201

          C.         REDAC'|ED Motion of the Debtors for Entry of an Order Approving the
                     Settlement Between the Debtors, the Official Committee of ljnsecured Creditors,


I The Debtors in these cases, along with the last four digits of each Debtor's federal tax iclentification number, are:
EdgeMarc Energy Floldings, t,LC (6900), liM Enelgy Manager, LLC (5334), EM Energy Employer, I-t,C (8026),
EM Energy Ohio, LLC (6935), EM Energy Pennsylvania, LLC (1541), EM lìnergy WestVirginia,LLC (3771), EM
Energy Keystone, LI.C (7506), EM Energy Midstream Ohio, t,LC (1268), and E,M linergy Midstream Pennsylvania,
Lt,C (3963). The Debtors'corporate headquarters and mailing address is 1800 Main Street, Suite 220. Canonsbulg,
PA 15317.
2 Any party who wishes to altend telephonically is required to make arrangements prior to the hearing through
ClourtCall by telephone (866-582-6878) or by facsimile (866-533-2946).



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                      Keybank National Association, and ETC Norlheast Pipeline, l,t,C [D.1. 832, filed
                      on January 24,20201

            D.        Notice of Flearing [D.1. 837, filed on January 27,20201

            E.        Certification of Counsel [D.1. 871, frled on February 5,20201

            Status: The informal comments from the Office of the United States Trustee have been
            resolved. A cerlification of counsel has been firled and submitted in accordance with the
            Court's procedures. Accordingly, a hearing regarding this matter is not required.

MATTERS GOING FOR\ilARD:

2           Motion of Debtors for Entry of Orders (lXA) Approving Bidding Procedures for Sale of
            Debtors' Assets, (B) Approving Stalking Horse Bid Protections. (C) Scheduling Auction
            for, and Hearing to Approve, Sale of Debtors' Assets, (D) Approving Form and Manner
            of Notices of Sale, Auction and Sale Hearing, (E) Approving Assumption and
            Assigrunent Procedures and (F') Granting Related Relief and (lI)(A) Approving Sale of
            Debtors' Assets Free and Clear of l-iens. Claims. Interests ancl Encumbrances, (B)
            Authorizing Assumption and Assignment ol'Hxecutory Contracts and lJnexpired l-eases
            and (C) Granting Related lìeliel'[D.I. 19, fìled on May 15, 20191.

            Sale Response Deadline: August 21,2019 at 4:00 p.m. (ET); extended to August 22,
            2019 at t2:00 p.m. (IlT) for the Official Cornmittee of Unsecured Creditors, Bedrock
            Petroleum Consultants LI-C, Phoenix Technology Services USA Inc., Keystone
            Clearwater Solutions, [,LC, Anchor Drilling Fluids USA, I-LC and B&L Pipeco Services,
            Inc. with respect to the Monroe/Washington Assets; extended to September 12,2019 at
            4:00 p.m. (E1') lòrthe Olficial Committee of Unsecured Creditors andthe Office of the
            LJnited States Trustee with respect to the Butler Assets

            Cure Response Deadline: A ugust 21,2019 at 4:00 p.m. (ET); extended to August 23,
            2019 at 4:00 p.m. (ET) f'or EGO Water Solutions I-LC with respect to               the
            Monroe/Washington Assets; extended to September 12,2019 at 4:00 p.m. (tsT) f'ot E1'C
            Northeast Pipeline LLC and the Off,rcial Committee of Unsecured Creditors with respect
            to the Butler Assets

            Assumgtion and Assignment Responses Received Relating to the Monroe/Washington
            Assets:

            A.         Informal response from EGO Water Solutions LLC

            B          Objection of Timothy L. Blake and Paula    .1.   Rush-Blake to Cure Claim Amount
                       1D.L 487, f,iled on August 19,20191

            C         Limited Assumption and Assignment Objection and Reservation to Debtors'
                      Notice of Potential Assumption and Assignment of Executory Contracts or



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                    Unexpired Leases and Cure Amount of Eureka Midstream, LLC and EQM
                    Gathering OPCO, LLC [D.f. 490, filed on August 20,2019]

         D          Objection   of   Tyrone J. Allen and Diane    L. Allen to Notice of Potential
                    Assumption and Assignment of Executory Contracts or Unexpired Leases and
                    Cure Amount [D.I. 492,ftl.re,d on August 21,2019]

         E          Objection of Waste Management to Notice of Cure Costs and Potential
                    Assumption and Assignment of Executory Contracts and Unexpired l,eases [D.I.
                    494,filed on August 21,20191

         F          Letter from Richard and Linda Crooks, Dated August 19.2019 Regarding Cure
                    Amounts [D.1. 516, filed on August 26,20191

         Sale and Cure Resoonses Recei         Relatins to the Butler Assets

         G.         Informal response fiom Axip Energy Servtces

         H.         Limited Objection and Reservation of Rights of Dominion Energy Transmission,
                    Inc. flkla Dominion 'Iransmission, Inc. to Notice of Potential Assumption and
                    Assignment of Executory Contracts or Unexpired Leases and Cure Amount [D.I.
                    488, filed on August 19,20191

         I          Objection fiom Brenda Shaffer and Phillip Shafler [D.1. 489, fìled on August 20,
                    20tel

         J          Limited Objection of U.S. Specialty Insurance Company to the Sale [D.1. 493,
                    filed on August 21,20191

         K          Objection to Sale    of lìonald Smith and Marianne Smith [D.1. 495, filed    on
                    August 21,20191

         L.         Markwest Liberty Bluestone, LLC's Limited Objection and Iìeservation of
                    Rights of to Notice of Potential Assumption and Assignment of Executory
                    Contracts, Unexpired Leases and Cure Amount !D.I.496, hled on August 21,
                     20tel

         M          Limited Objection of Oil and Gas Mechanic's Lien Claimant, Anchor Drilling
                    F'luids USA. LLC to Motion of Debtors for Entry of Orders (lXA) Approving
                    Bidding Procedures for Sale of Debtors Assets, (B) Approving Stalking Horse
                    Bid Protections. (C) Scheduling Auction for, and I{earing To Approve, Sale of
                    Debtors Assets, (D) Approving Fonn and Manner of Notices of Sale, Auction
                    and Sale l{earing, (E) Approving Assumption and Assignment Procedures and
                    (F) Granting Related Relief and (ll)(A) Approving Sale of Debtors Assets Free
                    and Clear of Liens, Claims, Interests ancl Encumbrances, (B) Authorizing




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                       Assunrption and Assignment of Executory Contracts and Unexpired Leases and
                       (C) Granting Related Relief [D.l. 498. fìled on August 22,2019]

          N            Limited Objection and Reservation of Rights of B&L Pipeco Services, Inc. to
                       Debtors' Sale of Assets Free and Clear of Liens, Claims, Interests and
                       Encumbrances [D.1.499, filed on August 22,2019]

          o            Bedrock Petroleum Consultants, LI-C's Objection to Sale [D.1. 500. fìled on
                       August 22,20191

          P            Limited Objection and Reservation of'Rights of Keystone Clearwater Solutions,
                       LLC to Debtors' Sale of Assets Free and Clear of l,iens. Claims, Interest and
                       Encumbrances [D.1. 501, filed on August 22,2019]1

           o           Phoenix'fechnology Services USA, Inc.'s l.imited Objection and Preservation of
                       Rights to Debtors' Sale of Assets Free and Clear of l-iens, Claims, Interests and
                       Encumbrances [D.I. 502, f,rled on August 22.20191

          R.           ETC Norlheast Pipeline LLC's Objection to the Debtors' Notice of Potential
                       Assurnption and Assignment of Flxecutory Contracts or Unexpired Leases and
                       Cure Amount [D.I. 570, filed on September 12,2019]

           S           Limited Objection and Reservation of Rights o1'ETC Northeast Pipeline LLC, to
                       the Debtors' Sale of Butler Assets Free and Clear of Liens, Claims, Interests, and
                       Encumbrances fD.l. 571, filed on September 12,20191

           T           Markwest t,iberty Bluestone, I.l,C's Objection to the Sale of the l)ebtors' Butler
                       Assets |D.L 572, fìled on September 12,20191

           U           Corrected Exhibit A to ETC Northeast Pipeline LLC's Objection to the Debtors'
                       Notice of Potential Assumption and Assignrnent of Executory Contracts or
                       Unexpired Leases and Cure Amount [D.I. 573. f-rled on September 12,2019]

           V           ISEALED] Objection of Official Committee of Unsecured Creditors to Motion
                       of Debtors for Entry of Order (A) Approving Sale of Debtors' Assets Free and
                       Clear of Liens, Claims, Interests and Encumbrances, (B) Authorizing
                       Assumption and Assignment of Executory Contracts and Unexpired Leases and
                       (C) Granting Related Relief lD.I. 577, fìled on September 12,20191

           Related Documents

           w           Declaration of Callum Streeter in Further Support of the l)ebtors' Chapter 1l
                       Petitions and First Day Pleadings [D.1.3, fìled on May 15,20191

           X.          Order (l) Approving Bidding Procedures f-or Sale ol'l)ebtors' Assets, (ll) Setting
                       Procedures to Seek Stalking Horse Bid Protections. (lII) Scheduling Auction for,



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                        and Flearing to Approve, Sale of Debtors' Assets, (IV) Approving Form and
                        Manner of Notices of Sale, Auction and Sale Hearing, (V) Approving
                        Assumption and Assignment Procedures and (VI) Granting Related Relief [D.1.
                        247,entered on June 21,20191

           Y            Notice of Sale, Bidding Procedures, Auction and Sale Hearing !D.I.249, filed on
                        .Iune 2l ,20191

           Z            Or<lerApproving Arnended Bidding Procedures for Sale of f)ebtors' Assets fD.I
                        329, entered on .Iuly 12,20191

           AA,          Notice of Filing of Fornrs of Sale Order and Asset Purchase Agreement lD.l
                        399, filed on July 24,20191

           BB.          Notice of Designation of Stalking I-lorse Bidder for Monroe/Washington Assets
                        and Request for Approval of Stalking I{orse Bid Protections [D.1.401, filed on
                        Iúy 24,20191

           CC.          Notice of Potential Assumption and Assignment of Executory Contracts or
                        Unexpired Leases and Cure Amounts [D.1.402, filed on July 24,20191

           DD.          Notice of Filing Amended Exhibits to the Stalking Florse Agreement lD.I. 437,
                        filed on August 5,20191

           EE.          Order    (l)
                                   Designating Stalking Horse Bidder, (lI) Approving Bid Protections,
                        and (III) Granting Related Relief LD.I.444. entered on August 6,20191

           FF.          Supplemental Notice of Potential Assumption and Assignment of Executory
                        Contracts or Unexpired Leases and Cure Amount lI).1,. 462, frled on August 9,
                        20le1

           GG.          Notice of (I) Designation of Successful Bid and Cancellation of Auction {br the
                        Debtors' Monroe/Washington Assets and (II) Extension of Sale Timeline f-or the
                        Sale of the l)ebtors' Butler Assets lD .I. 497 , fi led on August 2l , 20191

           rIH.         IREDACTED] Declaration of Darren S. Klein in Support of Debtors' (l) Brief in
                        Support of Their Motion f-or Entry of an Order (A) Approving Sale of Debtors'
                        Monroe/Washington Assets Free and Clear of Liens, Claims, Interests and
                        Encumbrances, (B) Authorizing Assumption and Assignment of Executory
                        Contracts and Unexpired Leases and (C) Granting Related Relief- and (II)
                        Omnibus Reply to Objections Thereto [D.1. 514, liled on August 26,2019]

           II           Order (A) Approving Sale of' l)ebtors' Monroe/Washington Assets Free and
                        Clear of Liens, Claims, Interests, and Encumbrances, (B) Authorizing
                        Assurnption and Assignment of Executory Contracts and Unexpired Leases, and
                        (C) Granting Related Relief fD.l. 530, entered on August 28,20191



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                JJ          Motion to File Under Seal the Objection of Official Committee of Unsecured
                            Creditors to Motion of Debtors for Entry of Order (A) Approving Sale ol'
                            Debtors' Assets Free and Clear of Liens, Claims, Interests and Encumbtances,
                            (B) Authorizing Assumption and Assignment of Executory Contracts and
                            Unexpired Leases and (C) Granting Related Relief [D.I. 578. filed on September
                            12,20191

                KK.         Notice of Rescheduled Sale Hearing for the Debtors' Butler Assets [D.1. 594,
                            filed on September 16.2019)

                LL.        Notice of Adjournment of Auction and Sale Hearing for the Sale of the Debtors'
                           Butler Assets [D.1. 615, fìled on September20,2019]

                MM          Order Refèrring Issues to Mediation and Appointing Mediator [D.1. 628, entered
                            on September 27,20191

                NN          Equity Owners' Objection to the Motions of Ofïcial Committee ol'Unsecured
                            Creditors f-or Entry of Orders to File Documents Under Seal [D.1. 765, filed on
                            f)ecember 2,20191

                oo         Notice of Selection of Successful Bid, Sale Flearing and Cancellation of Auction
                           for the Debtors' Butler Assets [D.I. 833, filed on.Tanuary 24,2020]

                PP          |REDACTRDI Objection of Official Committee of lJnsecured Creditors to
                            Motion of Debtors for Entry of Order (A) Approving Sale of Debtors' Assets
                            Free and Clear of Liens, Claims, Interests and Encumbrances, (B) Authorizing
                            Assumption and Assignment of Ìlxecutory Contracts and Unexpired l,eases and
                            (C) Granting Related Relief [D.I. 864. filed on February 3,2020]

                Status: The responses at items G, I-, R, S, T, U and V are resolvecl under the Settlernent
                Agreement. The responses at items H, I and K are moot. The Debtors are working to
                resolve the responses at items J, M, N, O, P and Q. This matter is going forward with
                respect to the Ilutler Assets.

3               SEALED Motion of the Debtors for Entry of an Order Approving the Settlement
                Between the Debtors, the Official Committee o1'Unsecured Creditors, Keybank National
                Association, and ETC Northeast Pipeline, LLC [D.1. 829, filed on January 24,20201

                Response Deadline: February 6,2020 at 4:00 p.m. (81')

                Responses:None.

                Related Documents:

                A.        REDACTED Motion of' the Debtors for Iintry of an Order Approving the
                          Settlement Between the Debtors, the Official Committee of ljnsecured Creditors,



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                       Keybank National Association, and ETC Northeast Pipeline, LLC [D.1. 832, filed
                       on January 24,20201

             B         Notice of Selection of Successful Bid, Sale Hearing and Cancellation of Auction
                       for the Debtors' Butler Assets [D.I. 833, Iìled on January 24,2020]

             C         Order Granting Motion to Shorten Time for Notice of Motion of the Debtors for
                       Entry of an Order Approving the Settlement Between the Debtors, the Official
                       Committee of Unsecured Creditors, Keybank National Association, and ETC
                       Nofilreast Pipeline, LLC [D.I. 834, entered on January 27,20201

             D.        Notice of Hearing [D.1. 836. filed on January 27,2020]

             Status: This matter is going forward.

4            Motion of the f)ebtors for Entry of an Order Approving the Stipulation Between the
             Debtors and ETC Northeast Pipeline, LLC Pursuant to Section 105(a) of the Bankruptcy
             Code, Rule 9017 of the Federal Rules of Bankruptcy Procedures, and Federal Rule of
             Evidence 502(d) [D.I. 851, filed on January 30,2020]

             Response l)eadline: Prior to or at the hearing.

             Responses

             A.        Informal comments from the Sponsors

             Related Documents:

             B         Order Granting Motion to Shorten l'ime lbr Notice of Motion of the I)ebtors for
                       Entry of an Order Approving the Stipulation Between the Debtors and ETC
                       Northeast Pipeline, LLC Pursuant to Section i05(a) of the Bankruptcy Code, Rule
                       9017 of the Federal Rules of Bankruptcy Procedures, and Federal Rule of
                       Evidence 502(d) [D.I. 856, enterecl on January 31,20201

             C.        Notice of'Flearing [D.I. 859, fìled on January 31,2020]




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           Status: 'fhis rnatter is going forward.

Dated: February 5,2020                                                                 B LLP
       Wilmington, Delaware

                                                                G.L         o.3 407)
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                                                         -and-

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